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Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 1 of 12

U.S. Department of Justice

 

 

United States Attorney
District of Maryland
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Christina. hoffman@usdoj.gov

February 13, 2020

 

Brendan Hurson & Maggie Grace 2 mw &
Office of the Federal Public Defender moO 3 4 =
100 S. Charles Street, Tower II, 9th Floor fe “hy rm Sc
Baltimore, MD 21201 ARR MGs,
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Re: United States v. Cortez Weaver, 4b OS omg QE.
Criminal No. RDB-19-0144 (D. Md.) mo ee EF 29
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Dear Counsel: =< 2 = “

This letter, together with the Sealed Supplement, confirms the plea agreement (this
“Agreement”) that has been offered to your client, Cortez Weaver (hereinafter “Defendant”), by
the United States Attorney’s Office for the District of Maryland (“this Office”). If the Defendant
accepts this offer, please have the Defendant execute it in the spaces provided below. If this offer
has not been accepted by February 14, 2020, it will be deemed withdrawn. The terms of the

Agreement are as follows:

Offense of Conviction

2. The Defendant agrees to plead guilty to Count Two of the Superseding Indictment, which
charges the Defendant with possessing, brandishing, and discharging of a firearm in furtherance
of a drug trafficking crime, resulting in death, in violation of 18 U.S.C. §§ 924(j) and 924(c). The
Defendant admits that the Defendant is, in fact, guilty of this offense and will so advise the Court.

Elements of the Offense

3. The elements of the offense to which the Defendant has agreed to plead guilty, and which
this Office would prove if the case went to trial, are as follows:

Count Two

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On or about July 17, 2017, in the District of Maryland:

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Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 2 of 12

a. the Defendant knowingly possessed and discharged a firearm;

b. the possession and discharging of the firearm was in furtherance of a drug
trafficking crime for which the Defendant might be prosecuted in a court of the
United States, namely, the drug trafficking conspiracy charged in Count One of the
Superseding Indictment;

c. in the course of possessing and discharging the firearm, the Defendant caused the
death of Maurice Finney; and

d. the killing was murder as defined in 18 U.S.C § 1111.

 

 

 

 

 

 

 

 

 

 

 

Penalties
4. The maximum penalties provided by statute for the offense to which the Defendant is
pleading guilty are as follows:

COUNT | -STATUTE MAND. MIN. . MAX MAX MAX FINE SPECIAL
IMPRISON- IMPRISON- SUPERVISED ASSESS-

MENT ~ MENT RELEASE MENT

2 18.U.S.C, 10 years .Life or death | 5 years . $250,000 $100
$$ 924G)(c)
a. Prison: Ifthe Court orders a term of imprisonment, the Bureau of Prisons has sole

discretion to designate the institution at which it will be served.

b. Supervised Release: If the Court orders a term of supervised release, and the
Defendant violates the conditions of supervised release, the Court may order the Defendant -
returned to custody to serve a term of imprisonment up to the entire original term-of supervised
release if permitted by statute, followed by an additional term of supervised release.

c. Restitution; The Court may order the Defendant to pay restitution pursuant to 18
U.S.C. §§ 3663, 3663A, and 3664.

d. Payment: Ifa fine or restitution is imposed, it shall be payable immediately, unless
the Court orders otherwise under 18 U.S.C. § 3572(d). The Defendant may be required to pay
interest if the fine is not paid when due.

e. Forfeiture: The Court may enter an order of forfeiture of assets directly traceable
to the offense, substitute assets, and/or a money judgment equal to the value of the property subject
to forfeiture.

f. Collection of Debts: If the Court imposes a fine or restitution, this Office’s
Financial Litigation Unit will be responsible for collecting the debt. If the Court establishes a
_ schedule of payments, the Defendant agrees that: (1) the full amount of the fine or restitution is --. -

2
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 3 of 12

nonetheless due and owing immediately; (2) the schedule of payments is merely a minimum
schedule of payments and not the only method, nor a limitation on the methods, available to the
United States to enforce the judgment; and (3) the United States may fully employ all powers to
collect on the total amount of the debt as provided by law. Until the debt is paid, the Defendant
agrees to disclose all assets in which the Defendant has any interest or over which the Defendant
exercises direct or indirect control. Until the money judgment is satisfied, the Defendant
authorizes this Office to obtain a credit report in order to evaluate the Defendant’s ability to pay,
and to request and review the Defendant’s federal and state income tax returns. The Defendant
agrees to complete and sign a copy of IRS Form 8821 (relating to the voluntary disclosure of
federal tax return information) and a financial statement in a form provided by this Office.

Waiver of Rights

5. The Defendant understands that by entering into this Agreement, the Defendant surrenders
certain rights as outlined below:

a, If the Defendant had pled not guilty and persisted in that plea, the Defendant
‘would have had the right to a speedy jury trial with the close assistance of competent counsel.
That trial could be conducted by a judge, without a jury, if the Defendant, this Office, and the
Court all agreed.

b. If the Defendant elected a jury trial, the jury would be composed of twelve
individuals selected from the community. Counsel and the Defendant would have the opportunity
to challenge prospective jurors who demonstrated bias or who were otherwise unqualified, and
would have the opportunity to strike a certain number of jurors peremptorily. All twelve jurors
would have to agree unanimously before the Defendant could be found guilty of any count. The
Jury would be instructed that the Defendant was presumed to be innocent, and that presumption
could be overcome only by proof beyond a reasonable doubt.

c. If the Defendant went to trial, the government would have the burden of proving
the Defendant guilty beyond a reasonable doubt. The Defendant would have the right to confront
and cross-examine the government’s witnesses. The Defendant would not have to present any
defense witnesses or evidence whatsoever. If the Defendant wanted to call witnesses in defense,
however, the Defendant would have the subpoena power of the Court to compel the witnesses to
attend.

d. The Defendant would have the right to testify in the Defendant’s own defense if
the Defendant so chose, and the Defendant would have the right to refuse to testify. If the
Defendant chose not to testify, the Court could instruct the jury that they could not draw any
adverse inference from the Defendant’s decision not to testify.

e. If the Defendant were found guilty after a trial, the Defendant would have the right
to appeal the verdict and the Court’s pretrial and trial decisions on the admissibility of evidence to

see if any errors were committed which would require a new trial or dismissal of the charges. By

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Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 4 of 12

pleading guilty, the Defendant knowingly gives up the right to appeal the verdict and the Court’s
decisions.

f. By pleading guilty, the Defendant will be giving up all of these rights, except the
right, under the limited circumstances set forth in the “Waiver of Appeal” paragraph below, to
appeal the sentence. By pleading guilty, the Defendant understands that the Defendant may have
to answer the Court’s questions both about the rights being given up and about the facts of the
case. Any statements that the Defendant makes during such a hearing would not be admissible
against the Defendant during a trial except in a criminal proceeding for perjury or false statement.

g. If the Court accepts the Defendant’s plea of guilty, the Defendant will be giving up
the right to file and have the Court rule on pretrial motions, and there will be no further trial or
proceeding of any kind m the above-referenced criminal case, and the Court will find the
Defendant guilty.

h. By pleading guilty, the Defendant will also be giving up certain valuable civil
rights and may be subject to deportation or other loss of immigration status, including possible
denaturalization. The Defendant recognizes that if the Defendant is not a citizen of the United
States, or is a naturalized citizen, pleading guilty may have consequences with respect to the
Defendant’s immigration status. Under federal law, conviction for a broad range of crimes can
lead to adverse immigration consequences, including automatic removal from the United States.
Removal and other immigration consequences are the subject of a separate proceeding, however,
and the Defendant understands that no one, including the Defendant’s attorney or the Court, can
predict with certainty the effect of a conviction on immigration status. The Defendant is not
relying on any promise or belief about the immigration consequences of pleading guilty. The
Defendant nevertheless affirms that the Defendant wants to plead guilty regardless of any potential
immigration consequences.

Advisory Sentencing Guidelines Apply

6. The Defendant understands that the Court will determine a sentencing guidelines range for
this case (henceforth the “advisory guidelines range’) pursuant to the Sentencing Reform Act of
1984 at 18 U.S.C. § 3551-3742 (excepting 18 U.S.C. § 3553(b)(1) and 3742(e)) and 28 U.S.C.
§§ 991 through 998. The Defendant further understands that the Court will impose a sentence
pursuant to the Sentencing Reform Act, as excised, and must take into account the advisory
guidelines range in establishing a reasonable sentence.

Factual and Advisory Guidelines Stipulation

7. a. This Office and the Defendant stipulate and agree to the Statement of Facts set forth
in Attachment A, which is incorporated by reference herein. This Office and the Defendant further
agree that the applicable base offense level with respect to the murder charged in Count Two is a
level 43 pursuant to United States Sentencing Guidelines (“U.S.S.G.”) § 2A1.1(a) because the
offense was first-degree murder. _ lg
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 5 of 12

b. This Office and the Defendant further agree that the applicable base offense level
with respect to the drug trafficking conspiracy charged in Count One (and incorporated by
reference in Count Two) is a level 32 pursuant to U.S.S.G. § 2D1.1(c)(4) because the conspiracy
involved at least three kilograms but less than 10 kilograms of heroin. There is a 2-level increase
in the offense level pursuant to U.S.S.G. § 2D1.1(b)(1) because the Defendant possessed a firearm
im connection with the conspiracy, for instance, on March 7, 2019. There is a further 2-level
increase in the offense level pursuant to U.S.S.G. § 2D1.1{b)(2) because the Defendant made
credible threats to use violence in connection with the conspiracy, for instance, on January 25,
2019 and March 6, 2019. The adjusted offense level for the drug trafficking conspiracy is 36.

c. This Office and the Defendant further agree that pursuant to the grouping rules in
U.S.5.G. § 3D1.4, the drug trafficking conspiracy is counted as one-half unit because it is 5 to 8
levels less serious than the murder, resulting in a 1-level increase in the offense level.
Accordingly, the combined offense level is 44.

d. This Office does not oppose a 2-level reduction in the Defendant’s ‘adjusted
offense level pursuant to U.S.S.G. § 3E1.1(a), based upon the Defendant’s apparent prompt -
recognition and affirmative acceptance of personal responsibility for,the Defendant’s criminal.
conduct. This Office agrees to make a motion pursuant to U.S.S.G. § 3E1.1(b) for an additional
1-level reduction in recognition of the Defendant’s timély notification of the Defendant’s
intention to enter a plea of guilty. This Office may oppose any adjustment for acceptance of
responsibility under U.S.S.G. § 3E1.1(a) and may decline to make a motion pursuant to U.S.S.G.
§ 3E1.1(b), if the Defendant: (i) fails to admit each and every item in the factual stipulation; (ii)
denies involvement in the offense; (iii) gives conflicting statements about the Defendant’s
involvement in the offense; (iv) is untruthful with the Court, this Office, or the United States
Probation Office; (v) obstructs or attempts to obstruct justice prior to sentencing; (vi) engages in
any criminal conduct between the date of this Agreement and the date of sentencing; (vii) attempts
to withdraw the plea of guilty; or (viii) violates this Agreement in any way.

8. There is no agreement as to the Defendant’s criminal history, and the Defendant
understands that the Defendant’s criminal history could alter the Defendant’s offense level.
Specifically, the Defendant understands that the Defendant’s criminal history could alter the final
offense level if the Defendant is determined to be a career offender or if the instant offense was a
part of a pattern of criminal conduct from which the Defendant derived a substantial portion of the
Defendant’s income. .

9. Other than as set forth above, no other offense characteristics, sentencing guidelines
factors, potential departures or adjustments set forth in the United States Sentencing Guidelines
are in dispute or will be raised in calculating the advisory guidelines range.

10.‘ The parties stipulate and agree pursuant to Federal Rule of Criminal Procedure 11(c)(1)(C)
that a sentence of between 300 and 360 months of incarceration in the custody of the Bureau

_ of Prisons, followed by 5 years of supervised release, is the appropriate disposition of this case

5
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 6 of 12

taking into consideration the nature and circumstances of the offense, the Defendant’s criminal
history, and all of the other factors set forth in 18 U.S.C. § 3553(a). This Agreement does not
affect the Court’s discretion to impose any lawful term of supervised release or fine or to set any
lawful conditions of probation or supervised release. In the event that the Court rejects this
Agreement, except under the circumstances noted below, either party may elect to declare the
Agreement null and void. Should the Defendant so elect, the Defendant will be afforded the
opportunity to withdraw his plea pursuant to the provisions of Federal Rule of Criminal Procedure
11(c)(5). The parties agree that if the Court finds that the Defendant engaged in obstructive or
unlawful behavior and/or failed to acknowledge personal responsibility as set forth herein, neither
the Court nor the Government will be bound by the specific sentence contained in this Agreement,
and the Defendant will not be able to withdraw his plea.

Obligations of the Parties

11. At the time of sentencing, this Office and the Defendant will recommend a sentence
between 300 and 360 months in the custody of the Bureau of Prisons, followed by 5 years of
supervised release. This Office and the Defendant reserve the right to bring to the Court’s
attention all information with respect to the Defendant’s background, character, and conduct that
this Office or the Defendant deem relevant to sentencing, including the conduct that is the subject
of any counts of the Indictment. At the time of sentencing, this Office will move to dismiss any
open counts against the Defendant. ,

Waiver of Appeal

12. In exchange for the concessions made by this Office and the Defendant in this Agreement,
this Office and the Defendant waive their rights to appeal as follows:

a, The Defendant knowingly waives all right, pursuant to 28 U.S.C. § 1291 or any
other statute or constitutional provision, to appeal the Defendant’s conviction on any ground
whatsoever. This includes a waiver of all right to appeal the Defendant’s conviction on the ground
that the statute(s) to which the Defendant is pleading guilty is unconstitutional, or on the ground
that the admitted conduct does not fall within the scope of the statute(s).

b. The Defendant and this Office knowingly and expressly waive all rights conferred
by 18 U.S.C. § 3742 to appeal whatever sentence is imposed (including any term of imprisonment,
fine, term of supervised release, or order of restitution) for any reason (including the establishment
of the advisory sentencing guidelines range, the determination of the Defendant’s criminal history,
the weighing of the sentencing factors, and any constitutional challenges to the calculation and
imposition of any term of imprisonment, fine, order of forfeiture, order of restitution, and term or
condition of supervised release), except as follows:

(i) The Defendant reserves the right to appeal the sentence of imprisonment if
the total term of imprisonment exceeds 360 months; and
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 7 of 12

(ii) This Office reserves the right to appeal the sentence of imprisonment if the
total term of imprisonment is less than 300 months.

c. The Defendant waives any and all rights under the Freedom of Information Act
relating to the investigation and prosecution of the above-captioned matter and agrees not to file
any request for documents from this Office or any investigating agency.

Forfeiture

3. a, The Defendant understands that the Court may enter an Order of Forfeiture as part
of the Defendant’s sentence, and that the Order of Forfeiture may include assets directly traceable
to the offense(s), substitute assets, and/or a money judgment equal to the value of the property
derived from, or otherwise involved in, the offenses, including but not limited to: a Ruger .357
caliber handgun with serial number 17214226 and ammunition.

b. The Defendant agrees to consent to the entry of orders of forfeiture for the property
described in the above subparagraphs and waives the requirements of Federal Rules of Criminal
Procedure 11(b)(1)(J), 32.2 and 43(a) regarding notice of the forfeiture in the charging instrument,
advice regarding the forfeiture at the change-of-plea hearing, announcement of the forfeiture at
sentencing, and incorporation of the forfeiture in the judgment.

c. The Defendant agrees to assist fully in the forfeiture of the above property. The
Defendant agrees to disclose all assets and sources of income, to consent to all requests for access
to information related to assets and income, and to take all steps necessary to pass clear title to the
forfeited assets to the United States, including executing all documents necessary to transfer such
title, assisting in bringing any assets located outside of the United States within the jurisdiction of
the United States, and taking whatever steps are necessary to ensure that assets subject to forfeiture
are made available for forfeiture.

d. The Defendant waives all challenges to any forfeiture carried out in accordance
with this Agreement on any grounds, including any and all constitutional, legal, equitable,
statutory, or administrative grounds brought by any means, including through direct appeal, habeas
corpus petition, or civil complaint. The Defendant will not challenge or seek review of any civil
or administrative forfeiture of any property subject to forfeiture under this Agreement, and will
not assist any third party with any challenge or review or any petition for remission of forfeiture.

Defendant’s Conduct Prior to Sentencing and Breach

14. a. Between now and the date of the sentencing, the Defendant will not engage in
conduct that constitutes obstruction of justice under U.S.S.G. § 3C1.1; will not violate any federal,
state, or local law; will acknowledge guilt to the probation officer and the Court; will be truthful
in any statement to the Court, this Office, law enforcement agents, and probation officers; will
cooperate in the preparation of the presentence report; and will not move to withdraw from the
plea of guilty or from this Agreement.
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 8 of 12

b. If the Defendant engages in conduct prior to sentencing that violates the above
paragraph of this Agreement, and the Court finds a violation by a preponderance of the evidence,
then: (i) this Office will be free from its obligations under this Agreement; (ii) this Office may
make sentencing arguments and recommendations different from those set out in this Agreement,
even if the Agreement was reached pursuant to Rule 11(c)(1)(C); and (iii) in any criminal or civil
proceeding, this Office will be free to use against the Defendant all statements made by the
Defendant and any of the information or materials provided by the Defendant, including
statements, information, and materials provided pursuant to this Agreement, and statements made
during proceedings before the Court pursuant to Rule 11] of the Federal Rules of Criminal
Procedure. A determination that this Office is released from its obligations under this Agreement
will not permit the Defendant to withdraw the guilty plea. The Defendant acknowledges that the
Defendant may not withdraw the Defendant’s guilty plea—even if made pursuant to Rule
I1(c)(1)(C)—f the Court finds that the Defendant breached the Agreement. In that event, neither
the Court nor the Government will be bound by the specific sentence or sentencing range agreed
and stipulated to herein pursuant to Rule 11(c)(1)(C).

Court Not a Party

15. The Court is not a party to this Agreement. The sentence to be imposed is within the sole
discretion of the Court. The Court is not bound by the Sentencing Guidelines stipulation in this
Agreement. The Court will determine the facts relevant to sentencing. The Court is not required
to accept any recommendation or stipulation of the parties. The Court has the power to impose a
sentence up to the maximum penalty allowed by law. In the event the Court rejects this Rule
1i(c)(1)(C) plea agreement, the Defendant will be informed that he may withdraw his plea
pursuant to Rule 11(c)(5)(C). Ifhe persists in the guilty plea thereafter, the Defendant understands
that the disposition of the case may be less favorable than that contemplated by this agreement.
Neither the prosecutor, defense counsel, nor the Court can make a binding prediction, promise, or
representation as to what guidelines range or sentence the Defendant will receive. The Defendant
agrees that no one has made such a binding prediction or promise.

Entire Agreement

16. This letter, together with the Sealed Supplement, constitutes the complete plea agreement
in this case. This letter, together with the Sealed Supplement, supersedes any prior understandings,
promises, or conditions between this Office and the Defendant. There are no other agreements,
promises, undertakings, or understandings between the Defendant and this Office other than those
set forth in this letter and the Sealed Supplement. No changes to this Agreement will be effective
unless in writing, signed by all parties and approved by the Court.

If the Defendant fully accepts each and every term and condition of this Agreement, please
sign and have the Defendant sign the original and return it to me promptly.

Very truly yours,
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 9 of 12

Robert K. Hur
United States Attomey

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Christina . Hoffman
Peter J. rtinez

Assistant United States Attorneys

Ihave read this Agreement, including the Sealed Supplement, and carefully reviewed every
part of it with my attorney. I understand it and | voluntarily agree to it. Specifically, 1 have
reviewed the Factual and Advisory Guidelines Stipulation with my attorney and J do not wish to
change any part of it. I am completely satisfied with the representation of my attorney.

a/ 12/2030 by Wy

Date Cortez Weaver

I am the Defendant’s attorney. I have carefully reviewed every part of this Agreement,
including the Sealed Supplement with the Defendant. The Defendant advises me that the
Defendant understands and accepts its terms. To my knowledge, the Defendant’s decision to enter
into this Agreement is an informed and voluntary one.

2/12/2020

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Date Brendan Hurson, Esq.

 
 

Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 10 of 12

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ATTACHMENT A S2 ny Sat
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STIPULATION OF FACTS 3S, WZ 112

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The undersigned parties stipulate and agree that if this case had proceeded tO trialp th

Office would have proven the following facts beyond a reasonable doubt. The ufidersigned parties

also stipulate and agree that the following facts do not encompass all of the evidence that would
have been presented had this matter proceeded to trial.

Beginning in July 2017 or earlier, the Defendant, Cortez Weaver, a/k/a “Corty,” a/k/a
“Tez,” was a member of a conspiracy to distribute heroin and cocaine base in the Abington Avenue
area of Baltimore, Maryland. In or about mid-July 2017, members of the Abington Avenue drug
trafficking organization, including Christopher Hockaday, became involved in a dispute with a
rival drug trafficking organization over who could sell drugs at the Sunoco gas station at the
intersection of Baltimore Street and Hilton Avenue. As a result of the dispute, on July 14, 2017,

a member of the rival drug trafficking organization shot and killed Hockaday in the 3200 block of
Baltimore Street—the block adjacent to the Sunoco gas station.

Three days later, on July 17, 2017, the Defendant and another member of the Abington
Avenue drug trafficking organization (hereinafter, “Co-Conspirator 1”) went to the Sunoco gas
station for the purpose of retaliating against members of the rival drug trafficking organization. At
the gas station, they encountered a member of the rival drug trafficking organization named
Maurice Finney, a/k/a “Mitch.” The Defendant murdered Finney, shooting him in the head at
close range with a .40 caliber handgun. The Defendant then attempted to murder Victim 2, chasing
him across Hilton Avenue while firing multiple shots at him. Meanwhile, Co-Conspirator 1
attempted to murder Victim 3, shooting him multiple times with a 9mm caliber handgun and
causing life-threatening injuries. The incident was captured by surveillance cameras at the gas

station, Afterward, the Defendant sent Co-Conspirator | a text message directing him to “burn
them clothes.”

On November 13, 2018, a confidential informant (CI-1) placed a call to the Defendant that
was monitored by law enforcement. During the call, CI-1 made plans to meet the Defendant to
discuss a potential “lick,” i.¢., a robbery opportunity. Soon afterward, CI-1 met with the Defendant
and recorded the conversation. During the conversation, the Defendant confessed to having killed
“Mitch”—i.e., Maurice Finney. The Defendant described the murder using specific details that
were consistent with the surveillance footage and other physical evidence recovered during the
investigation. For instance, the Defendant explained that he committed the murder with “Rico”
(i.e., Co-Conspirator 1), that he wore a “scully cap” and “skipped down on” the victim (which is
corroborated by the surveillance footage), and that he shot the victim “one time” using a “40”
(which is corroborated by the physical evidence from the scene). The Defendant complained that
“Rico fucked up” because he did not “put the mask on” as the Defendant had told him to do.

During the same conversation, CI-] and the Defendant discussed the potential robbery of
a drug stash house. Unbeknownst to the Defendant, the robbery opportunity was a fiction, and the

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Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 11 of 12

drug stash house did not exist. The Defendant agreed to carry out the robbery and stated that it
was “the same shit” he had been doing that with a co-conspirator, another member of the
Abington Avenue drug trafficking organization. The Defendant also displayed a .45 caliber
firearm to CI-1 and talked about owning several firearms, including a “357” and a “40.”

On January 25, 2019, CI-1 introduced the Defendant to a Baltimore Police Department
undercover officer (UC-1) for the purpose of discussing the robbery opportunity. UC-1 wore an
audio-video recording device to capture his interactions with the Defendant. Throughout the
conversation, the Defendant repeatedly indicated that he wanted to commit the robbery. He
explained that he had as many as three associates who could help him commit the robbery (“three
people to run through that bitch’). He stated that he had: multiple firearms, including “a big ass
chopper and a lot of big 40s.” He further stated that he had recently committed a similar robbery.
“T just hit a lick in the city,” he explained. “I ran in a nig** house and got like ten thousand and
six ounces of coke.” The Defendant also told UC-1 that following the robbery, he intended to
“bust down,” or break down, the kilogram quantities of stolen heroin into smaller components and
sell the stolen heroin through his distributors.

Furthermore, at multiple points during the recorded conversation, the Defendant told
UC-1 that he intended to kill the individuals who were guarding the stash location after robbing
the individuals of their heroin. ‘“‘Ain’t tryin’ to leave anybody in that bitch,” the Defendant told
UC-1. “Nobody coming out of there alive. Fuck no, that’ll be stupid. You leave anybody in that
bitch alive ... all I gotta do is get in and waste ‘em.” Similarly, later during the
conversation, the Defendant stated, “I gotta kill ‘em, right; I can’t leave them alone. You get

what I’m saying? It’s the only thing that gotta happen. Like, they can’t be left alive.”

On February 12, 2019, the Defendant brought two co-conspirators with him to meet
UC-1 at a location in Baltimore City to discuss the robbery opportunity. UC-1 explained to the
group that he was a drug trafficker who was interested in robbing his source of supply of
multiple kilograms of heroin. The Defendant and his co-conspirators indicated that
they were interested in assisting UC-1, discussed how the robbery would be committed, and
discussed how they would resell the stolen heroin. All three asked questions or made
observations regarding the logistics of the robbery. For example, a co-conspirator asked whether
there were cameras in the area of the stash house where the robbery was going to take place. With
respect to the individuals guarding the stash house, a co-conspirator stated, “They might gotta go.
We gonna shoot niggas coming through the door.” A co-conspirator observed that “the biggest
problem is getting in,” ie., gaining entry into the stash house.

On March 6, 2019, the Defendant and the same two co-conspirators noted in the above
paragraph again met UC-1 at a location in Baltimore City to discuss the robbery opportunity.
The Defendant and the UC-1 again discussed the robbery logistics. During the discussion, the
Defendant described his plan to neutralize the three individuals whom he expected to be
guarding the stash house. “One nigga grab him at the door,” the Defendant said. “One nigga
grab the nigga in the middle. The other nigga in back.” A co-conspirator later added, “We ready.
We ready, We already got enough artillery to do what the fuck

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Case 1:19-cr-00144-RDB Document117 Filed 02/27/20 Page 12 of 12

we said then. We gonna get in there.” A co-conspirator also stated that following the robbery,
he and his associates would “drop the three’—that is, they would “cut” the heroin with
adulterants—before selling it in the streets. Throughout the conversation, the Defendant was
listening attentively and nodding his head.

On the morning of March 7, 2019, UC-1 made plans to meet the Defendant and two co-
conspirators in the parking lot of a Royal Farms in Baltimore City in order to commit the robbery.
The Defendant and two co-conspirators arrived in a black Nissan Maxima drive by a co-
conspirator. The Defendant exited the Nissan Maxima and accompanied UC-1 to a nearby
storage facility where the group planned to split the proceeds of the robbery once it was
completed. The Defendant and his co-conspirators waited in a co-conspirator's vehicle at the
Royal Farms.

At the storage facility, a team of law enforcement officers approached UC-1’s vehicle and
placed the Defendant under arrest. During a search of the Defendant’s person, the officers
recovered a loaded Ruger .357 revolver, 11 pink-top vials containing suspected cocaine, and a
mask. They also recovered a pair of black woolen gloves from the passenger area of UC-1’s
vehicle where the Defendant had been sitting.

Meanwhile, a second team of law enforcement officers approached the black Nissan
Maxima in the Royal Farms parking lot and placed three co-conspirators under arrest. During
searches incident to arrest, officers recovered black masks from two co-conspirators. From the
rear passenger side area (where one co-conspirator had been sitting), the officers recovered a
pair of black woolen gloves and a Keltec 9 millimeter handgun bearing serial number AUY36.
The handgun was loaded with 10 rounds of ammunition, one of which was in the chamber.
From the rear driver’s side area (where another co-conspirator had been sitting), the officers
recovered a pair of black woolen gloves.

The parties agree and stipulate that from at least in or about July 2017 through March 7,
2019, the Defendant conspired with one or more others to distribute heroin and cocaine base in
Baltimore, Maryland, and that it was foreseeable to the Defendant that members of the conspiracy
would distribute at least three kilograms but “CUR ight kilograms of heroin.

 

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SO STIPULATED: Christina A. Hoffman
Peter. Martinez

Assistant United States Attorneys

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Cortez Weaver, Defendant

Brendan Hurson, Esq.
° - + Counsel for Defendant - aos

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